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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 MERLIN KAUFFMAN,
 an individual,

       Plaintiff,

 v.                                           CASE NO. 3:20-cv-17-MMH-JBT

 TRANS HIGH CORPORATION, a New
 York company and HIGH TIMES HOLDING
 CORPORATION, a Delaware company

     Defendants.
 _______________________________/

            DEFENDANTS’ RESPONSE IN OPPOSITION TO
       PLAINTIFF’S MOTION FOR FINAL SUMMARY JUDGMENT

       Mr. Kauffman’s motion for summary judgment collapses the distinction

 between a preliminary negotiation of individual terms and a final, binding

 agreement. To show that the Parties never reached a final agreement, this

 Response traces the stages of the preliminary negotiation: from haggling over the

 payment amount to discussion about two essential conditions precedent to the

 formation of the contract: reduction to formal writing and board approval.

 Plaintiff’s motion for summary judgment fails to meet the summary judgment

 standard for establishing a meeting of the minds and the non-existence of

 conditions precedent. Even if these flaws can be ignored (they cannot), Plaintiff

 misconstrues the meaning of actual and apparent authority, and he has




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 completely failed to establish standing, personal jurisdiction, and satisfaction of

 the UCC’s statute of frauds. Finally, specifically performance is not available.

    I.    The Price Haggle

          A. The chat reflects a negotiation, not a binding contract.

    The WhatsApp transcript begins as nothing more than two negotiators

 haggling over a potential agreement between their principals. There was no

 meeting of the minds to enter into a binding agreement on all essential terms.

 “When determining whether there has been a meeting of the minds on all

 essential terms, courts should distinguish preliminary negotiations from a final

 agreement.” Triton Stone Holdings, L.L.C. v. Magna Bus., L.L.C., 308 So. 3d

 1002, 1007 (Fla. 4th DCA 2020). The purpose of this distinction—between

 preliminary negotiations on one hand a final agreement on the other— is to

 ensure that “legal representatives will negotiate without fear of unintentionally

 entering into a binding agreement.” Williams v. Ingram, 605 So. 2d 890, 894

 (Fla. 1st DCA 1992).

    Agreement over the amount of payment does not constitute assent to a final,

 binding agreement. See TB Food USA, Ltd. Liab. Co. v. Am. Mariculture, Inc.,

 2:17-cv-9-FtM-29NPM, 2021 U.S. Dist. LEXIS 61745, at *16 (M.D. Fla. Mar. 31,

 2021) (refusing to recognize as assent defendant’s signature of settlement term

 sheet that provided a payment amount to be made by plaintiff); Meekins-

 Bamman Prestress. v. Better Const., 408 So. 2d 1071 (Fla. 3d DCA 1982) (finding

 no assent despite defendant’s recognition of plaintiff’s “acceptance”). The

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 asynchronous features of “Whatsapp conversation fail to show assent,”

 particularly when electronic correspondence shows that negotiators “continue[d]

 to bicker over the terms.” Esprit Stones Private v. Rio Stone Grp., No. 6:19-cv—

 637, 2021 U.S. Dist. LEXIS 205743, at *16-17 (M.D. Fla. Jul. 28, 2021)

 (alternations in original) (quoting TB Food USA, Ltd. Liab. Co. v. Am.

 Mariculture, Inc., No. 2:17-cv-9-FtM-29NPM, 2021 U.S. Dist. LEXIS 61745, at

 *15-16 (M.D. Fla. Mar. 31, 2021)). In determining whether there is a meeting of

 the minds on all essential terms, “[a] court may consider any number of factors,

 including ‘the type of contract at issue, the number of details yet to be ironed out,

 the relationship of the parties, and the degree of formality attending similar

 contracts.’” Midtown Realty v. Hussain, 712 So. 2d 1249, 1252 (Fla. 3d DCA

 1998).

    Plaintiff’s own “expert,” Jeffrey Gabriel, bolsters this point. Mr. Gabriel

 acknowledges that e-mails are “common in domain sale negotiations.” [D.E. 111-

 12, ¶ 21] (emphasis added). Mr. Gabriel states that he uses messaging

 applications to make the sales pitch—“targeting buyers and or sellers in Asia.” Id.

 at ¶ 19 (emphasis added). Mr. Gabriel reiterates that messaging apps like

 WhatsApp are used in the “sales process.” Id. at ¶ 21. Mr. Gabriel then concedes

 that after Mr. Levin stated “Yes … confirmed,” the negotiation remained an

 “opportunity.” Id. at ¶ ¶ 22-23. A negotiation is not a contract. Therefore, by Mr.

 Gabriel’s own admission, the WhatsApp messages are by their nature indicative



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 of preliminary “negotiations” and “opportunities”—not a final, binding

 agreement.

     The only statements Mr. Gabriel makes in support of Mr. Kauffman are pure

 legal conclusions: “Adam made a specific offer,” and “100% a sale.”1 Id. at ¶ ¶ 22-

 23. Legal conclusions in expert declarations cannot form the basis for a motion

 for summary judgment. “An affidavit or declaration used to support or oppose a

 motion for [summary judgment] must be made on personal knowledge[.].” Smith

 v. City of Port St. Lucie, 20-14252, 2021 U.S. Dist. LEXIS 152043, at *17 (S.D.

 Fla. Aug. 11, 2021) (quoting Fed. R. Civ. P. 56(c)(4)). Expert opinion cannot be

 used to put forward an “interpretation” of a purported agreement. See McMahan

 Sec. Co. v. FB Foods, Inc., 8:04-cv-1791, 2007 U.S. Dist. LEXIS 9128, at *6 (M.D.

 Fla. Feb. 8, 2007). “Courts regularly exclude expert opinions that opine on the

 interpretation of written contracts,” regardless of whether such “expert”

 declarations are offered for the “court’s consideration” or for the jury’s. Herman

 v. Seaworld Parks & Entm’t, Inc., 320 F.R.D. 271, 281-83 (M.D. Fla. 2017)

 (excluding opinions in opposition to class certification).

     Beyond the legal conclusions of his purported expert, Mr. Kauffman relies

 exclusively on cases over the enforceability of settlement agreements. [D.E. 111 at

 13 (quoting Omni Healthcare, Inc. v. Health First, Inc., 6:13-cv-1509, 2017 U.S.



 1A Daubert motion and redundant points need not be raised in a separate motion.
 Variable Annuity Life Ins. Co. v. Fawn Laeng, 8:12-cv-2880, 2013 U.S. Dist. LEXIS
 108869, at *8 (M.D. Fla. Aug. 2, 2013). Further, when stripped of its legal conclusions,
 the “expert” declaration supports Defendants’ position.
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 Dist. LEXIS 135865, at *9 (M.D. Fla. Aug. 24, 2017)). In contrast to Mr.

 Kauffman’s business opportunity at issue here, “settlement agreements are highly

 favored in the law and will be upheld whenever possible because they are a means

 of amicably resolving doubts and preventing lawsuits.” Pearson v. Skydell, 522

 F.2d 171, 176 (5th Cir. 1975) (quoting D.H. Overmyer Co. v. Loflin, 440 F.2d 1213,

 1215 (5th Cir. 1971)). Because of this strong public policy factor favoring

 settlement agreements, courts applying Florida law apply a more relaxed set of

 rules to the execution of settlement agreements. Compare Hannah v. Armor

 Corr. Health Servs., 8:19-cv-596, 2021 U.S. Dist. LEXIS 122341, at *7 (M.D. Fla.

 June 3, 2021) (“The execution of a settlement agreement is merely a procedural

 formality and is not a condition precedent to an enforceable settlement

 agreement.”) with Arnold v. Heritage Enters. of St. Lucie, LLC, 2:13-cv-14447,

 2017 U.S. Dist. LEXIS 225609, at *32 (S.D. Fla. Jul. 8, 2017) (“Neither Arnold’s

 agent nor Riverside Marina executed the licensing agreement creating a

 presumption against the agreement’s execution because of the lack of external

 manifestation of acceptance.”)

    Even in these “highly favored” settlement agreements, the language of assent

 is far more unequivocal than the language used by Messrs. Kauffman and Levin.

 Pearson, 522 F.2d at 176. In Omni, for example the party proposing settlement

 unequivocally stated that he was putting forth a final, binding offer rather than

 negotiating: “This offer will be good for 72 hours, or until Judge Dalton rules,

 whichever comes sooner.” 2017 U.S. Dist. LEXIS 135865, at *9. And the reply

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 contained an unequivocal acceptance: “The Boone Plaintiffs have carefully

 considered Dr. Deligdish’s offer, below, from April 3, 2017[,] and accepted it.”

 Another example of formal acceptance via e-mail appears in Palmer v. Diamond

 Resorts Int’l Club, Inc.: “Diamond accepts the Palmers’ settlement offer.” Palmer,

 6:19-cv-2178, 2020 U.S. Dist. LEXIS 37599, at *2 (M.D. Fla. Feb. 14, 2020).

    There is no such solemn and unequivocal acceptance between Messrs.

 Kauffman and Levin. Neither person uses specific terms, such as “offer” and

 “accept.” Nor has a party to the agreement indicated some modicum of finality,

 such as “will be good for 72 hours.” Omni, 2017 U.S. Dist. LEXIS 135865, at *9.

    It is unclear whether Plaintiff believes binding assent was given when 1) Mr.

 Levin replied “yes” to “$307.5k for 420.com,” 2) when Mr. Levin replied

 “confirmed” to “Thanks,” or 3) when Mr. Kauffman later agreed that “send[ing] it

 over” is in fact “cool.” Motion for Summary Judgment, pp. 11-12. The term “cool”

 is not only colloquial and accordingly indicative of informal negotiations, but the

 term cannot be construed as assent because it is ambiguous. Merriam-Webster’s

 dictionary ascribes several potentially applicable meanings to the word “cool”:

 “free from tensions or violence,” “very good; excellent”; “all right”; and

 “fashionable; hip.” Cool, Merriam-Webster Dictionary, https://www.merriam-

 webster.com/dictionary/cool. The vast majority of these definitions do not

 indicate formal assent, but rather a casual acknowledgement that a proposal will

 not cause “tensions” in the course of negotiations, or that the proposal is

 “fashionable.” See id. To the extent Mr. Kauffman construed the word “cool” as

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 assent, there nevertheless was no meeting of minds between the negotiators as to

 whether the words “yes,” “confirmed,” and “cool” constitute intent to enter into a

 binding agreement, or merely an interest in continuing preliminary negotiations.

 Further, providing wiring instructions does not indicate an intent to be bound by

 a contract. See Esprit, 2021 U.S. Dist. LEXIS, at *5 (finding no assent despite fact

 that “Defendant sent Plaintiff information about its bank” via WhatsApp); Abbott

 Labs. v. Alpha Therapeutic Corp., 97 C 1292, 1997 U.S. Dist. LEXIS 20859, at

 *21-24 (N.D. Ill. Dec. 29, 1997) (concluding no intent to be bound by exchange of

 letters despite transmission of wire transfer instructions).

          B. The Relationship Factor

       The close relationship between Messrs. Kauffman and Levin weigh against

 finding a meeting of the minds because of difficulty discerning the boundaries

 between friendship, business negotiation, and contract formation. See Eastman

 Kodak Co. v. Ricoh Co., 13 Civ 3109, 2013 U.S. Dist. LEXIS 113204, at * 25

 (S.D.N.Y. Aug. 9, 2013). (“Naturally, a willingness to work cooperatively and

 pursue mutually beneficial business ventures does not automatically translate

 into a grant of intellectual property rights.”). Indeed, where there is any lack of

 clarity as to whether a discussion is a business agreement or a “friend helping a

 friend,” there is no meeting of the minds. Lambert v. Don Barron Contractor,

 Inc. 974 So. 2d 198, 202 (La. App. 2d Cir. 2008).

       The personal relationship Messrs. Kauffman and Levin does not include a

 history of entering into binding contracts with one another. To the contrary, their

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 WhatsApp history shows casual talk about valuation and business connections

 with respect to a variety of unrelated transactions. For example, the WhatsApp

 transcript shows a prior discussion about airline miles—their valuation and

 potential third-party sellers. Mr. Kauffman asked about the purchase of airline

 miles, and Mr. Levin referred him to a third-party seller (Seth Elliot). [D.E. 112-3,

 P. 23]. Discussion about 420.com began the same way. Mr. Levin asked Mr.

 Kauffman 1) “what’s a range of value” and 2) “any buyers.” Contrary to Mr.

 Kauffman’s characterization in his motion for summary judgment, Mr. Levin did

 not ask Mr. Kauffman directly if Mr. Kauffman wanted to buy. Mr. Levin

 indicated that he found a “strategic buyer,” and Mr. Kauffman replied in

 conditional terms: “I’d do 275k right now”—as in “I would,” not “I will.” So when

 Mr. Kauffman sent the WhatsApp message “307.5k for 420.com please confirm,”

 it appeared that Mr. Kauffman was asking for confirmation that he would be

 presented as a potential buyer to the appropriate board of directors, just as when

 Mr. Levin referred Mr. Kauffman to Mr. Elliott, Mr. Kauffman knew that Mr.

 Levin was not making an offer on behalf of Mr. Elliott. Mr. Kauffman recognized

 that he would need to ask for “board approval” to purchase an internet domain,

 just as Mr. Kauffman knew he had to ask Mr. Elliott to purchase airline miles. Mr.

 Kauffman’s understanding that Mr. Levin was merely the messenger is clear from

 Mr. Kauffman’s consistent inquiries about “board approval.” The structure of the

 chat between the two unrelated transactions is comparable, but Mr. Kauffman

 twists the meaning of “confirmed” in his motion for summary judgment.

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           C. Lack of Essential Terms

    The negotiators had not agreed on several essential terms at this juncture. The

 precise identity of the parties are essential terms. See Nu-Air Mfg Co. v. Frank B.

 Hall & Co., 822 F.2d 987, 990 (11th Cir. 1987) (recognizing “identity of parties” as

 essential term in oral insurance contract); Marine Depot v. James River Grp., 19-

 cv-24821, 2021 U.S. Dist. LEXIS 124827, at *20 (S.D. Fla. July 2, 2021) (“Here

 too the Parties had not agreed to many of these essential terms including a

 closing date, financing, the identity of the entity to purchase Ayassure and

 ownership transfer.”). The “timing of conveyance” is an essential term. Triton,

 308 So. 3d at 1008. “Specific” components on the delivery of an internet product

 are essential terms. See Remember Everyone Deployed v. Ac2t, Inc., 20-cv-

 62355, 2021 U.S. Dist. LEXIS 44430 at *36 (S.D. Fla. Mar. 8, 2021) (rep. & rec.)

 (finding lack of clarity over “exactly what was being discussed” with respect to a

 website “fix”).

    Messrs. Kauffman and Levin did not agree on the precise identity of the

 parties. Up to the point where Mr. Levin provided the routing information for

 Defendant High Times Holding Corporation, Mr. Levin did not identify whether

 he was representing Defendant High Times Holding Corporation, Defendant

 Trans High Corporation, both corporate entities, or himself. In this portion of the

 chat, Mr. Kauffman referred to the potential seller simply as “u” [sic]. Mr. Levin

 referred to the potential seller as “I.” Later, when Mr. Levin asked, “Who should

 be the buyer,” Mr. Kauffman responded with questions, including “Anyway [sic]

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  to keep confidential?” When Mr. Levin replied “Nope,” Mr. Kauffman replied,

  “use name: Trellian Pty Ltd.” This continued “bicker[ing]” about the identity and

  disclosure of the buyer shows that there was never any meeting of the minds over

  the corporate identity of either the seller or the buyer. TB Food USA, Ltd. Liab.

  Co. v. Am. Mariculture, Inc., No. 2:17-cv-9-FtM-29NPM, 2021 U.S. Dist. LEXIS

  61745, at *15-16 (M.D. Fla. Mar. 31, 2021)). The identity of parties cannot be

  based on ambiguous pronouns. Cf. Owen Industries v. Taylor, 354 So. 2d 1259,

  1261 n. 2 (Fla. Ct. App. 1978) (“It is unclear as to just who ‘them’ is.”).

     The negotiators had not agreed on the date of transfer at this juncture. Finally,

  the negotiators had not agreed on whether the transaction would cover the

  domain only, or also trademarks associated with the domain. On December 26,

  2020, Mr. Levin referred to the “domain 420.com.” Compl, Ex. B., p. 25

  (emphasis added). But the draft purchase agreement transmitted by Mr.

  Kauffman refers “interest in and to the Domain Name and the Trademarks.”

  [D.E. 112-2, Decl. of Adam Levin, p. 5]. This discrepancy shows no meeting of the

  minds over exactly what the subject of the proposed sale was.

     II.    Continued Discussion About Conditions Precedent Shows
            that the Parties did not agree to all essential terms.

     The negotiators’ incessant discussion of various conditions precedent and

  contract terms after Mr. Levin said “yes” demonstrates that the “yes” constitutes

  a negotiating position, not assent to a binding agreement. Such subsequent

  “bickering” endemic to the entire WhatsApp discussion demonstrates that there


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  never was any meeting of the minds. In TB Food, because of an e-mail

  referencing “draft revised agreements” one day after the parties executed a

  settlement term sheet, the “parties were not in agreement about the terms of the

  Settlement Term Sheet.” 2021 U.S. Dist. LEXIS at *15-16. The chat between

  Messrs. Levin and Kauffman follows the same structure. One day after Mr.

  Levin’s “yes” to a negotiating position, Mr. Levin introduced two additional terms

  to indicate that there was no final agreement: “I’m having a board call” and “I’ll

  need a contract as well.” Compl, Ex. B., p. 30. Mr. Kauffman agreed to these two

  conditions precedent the next day: “All good to go with resolutions? Board

  approval etc” Id. at 30. The same day, Mr. Kauffman indicated that he did not

  want to execute the agreement until the following year: “Is there any way we can

  make the contract purchase agreement date 1/1/20, as long as the wire hits

  Monday?” Id. Not only does this continuous discussion indicate the absence of

  final agreement, but even if a final agreement was entered into, the conditions

  precedent to the agreement was never satisfied. See, e.g., S. Internet Sys. v.

  Pritula, 856 So. 2d 1125, 1127 (Fla. 4th DCA 2003); [D.E. 112, pp. 9-13].

     III.   Authority

     Plaintiff relies on cases and undisputed facts that support the position of

  Defendants.

            A. Actual Authority

     With respect to actual authority, Mr. Kauffman relies on a resolution passed

  by the board of directors for High Times Holding Corp. But this resolution

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  establishes that the board of directors did not give Mr. Levin any kind of

  authority to dispose of the 420.com internet domain until board passed the

  resolution, on January 5, 2020, nearly one week after the alleged WhatsApp

  contract. [D.E. 112-1, p. 12]. Even then, the Board imposed critical restriction on

  Mr. Levin’s authority to sell 420.com: “a cash purchase price of not less than

  $350,000.” Id. at p. 9. The Resolution specifically restricted the authority of Mr.

  Levin to “carry out fully the purpose and interest of all of the foregoing

  resolutions.” Id. at p. 10. Because the resolution did not allow the company to sell

  the domain for less than $350,000, Mr. Levin’s authority was “limited to”

  executing agreements to the “amount specified in the resolution.” Bd. of

  Supervisors v. Deyoe, 77 N.Y. 219, 222 (N.Y. 1879).2 Where a resolution imposes

  conditions on an authorized agent, the agent lacks actual authority to enter into

  transactions that do not comply with the resolution’s conditions. See All Seasons

  Condo. Ass’n v. Patrician Hotel, LLC, 274 So. 3d 438, 447 (Fla. 3d DCA 2019)

  (“Paragraph 9(f), however, does not evince an actual agency relationship whereby

  a Unit Owner, in signing a Supplemental Contract, manifested their intent to

  grant the BOD and Dedesma actual authority to take any action on their behalf in

  order to effectuate a closing.”) (emphasis in original).

              B. Apparent Authority

           Mr. Kauffman argues that Mr. “Levin’s top-level positions, titles, express

  communications and actions” provided Mr. Levin with apparent authority, and in


  2   Because High Times Corp. is incorporated in New York, New York law may apply.
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  support, quotes Ja Dan, Inc. v. L-J, Inc., 898 F. Supp. 894, 900 (S.D. Fla. 1995).

  See [D.E. 111, p. 19 (emphasis added)]. But the full quotation of the applicable

  paragraph in Ja Dan demonstrates that apparent authority cannot be based on

  the agent’s actions alone:

        Apparent authority does not arise from the subjective
        understanding of the person dealing with the purported agent,
        nor from the appearance created by the purported agent
        himself; instead, apparent authority exists only where the
        principal creates the appearance of an agency relationship.
        Spence, Payne, Masington & Grossman, P.A. v. Philip M.
        Gerson, P.A., 483 So. 2d 775, 777 (Fla. Ct. App. 1986). A
        principal can create the appearance of an agent's authority by
        "knowingly permitting [an] agent to act in a certain manner as
        if he were authorized," Rushing v. Garrett, 375 So. 2d 903, 906
        (Fla. Ct. App. 1979), by failing to correct a known
        misrepresentation by an agent that he or she has certain
        authority, Owen Inds., Inc. v. Taylor, 354 So. 2d 1259, 1262
        (Fla. Ct. App. 1978), or by silently acting in a manner which
        creates    a    reasonable    appearance      of  an     agent's
        authority, American Eagle Credit Corp. v. Select Holding,
        Inc., 865 F. Supp. 800, 813 (S.D. Fla. 1994).


  Ja Dan, Inc. v. L-J, Inc., 898 F. Supp. 894, 900 (S.D. Fla. 1995) (emphasis

  added). None of the three established methods of a principal creating the

  appearance of an agency relationship apply to the exchange between Messrs.

  Kauffman and Levin.

     In the “knowingly permitting” for of agency action, a conferral of position in

  itself is insufficient. For example, in Rushing, which established the predicate for

  this method in Ja Dan, the principal hired an attorney. Rushing, 375 So. 2d at

  904-05. The principal making its attorney publicly known did not confer

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  apparent authority upon the attorney. Id. at 905. To establish apparent authority

  under this method, the plaintiff must show that 1) the principal knew of the

  specific offer, and 2) deliberately “permitted or tolerated her agent to act as

  though authorized.” Miller v. Mueller, 343 A.2d 922, 927 (Md. 1975) (cited in

  Rushing, 375 So. 2d at 906-07). Plaintiff points to no evidence showing that

  Defendants’ boards of directors deliberately permitted Mr. Levin to assent to the

  sale of the domain for $307,500. In fact, the resolution demonstrates that the

  High Times Holding Corp. board of directors actively did not tolerate a sale at

  this amount by passing a resolution to that effect.

     With respect to the “known misrepresentation by an agent” method of

  establishing apparent authority, an agent may expressly misrepresent his

  authority by affirmatively signing a contract “as president” of defendant

  Cambridge. Cambridge Credit Counseling Corp. v. 7100 Fairway, LLC, 993 So.

  2d 86, 88 (Fla. 4th DCA 2008). It is the “execution” of a contract (a signature

  with the imprimatur of presidential authority) that may lead to a “presumption of

  authority.” Id. at 90. Even then, the presumption only applies to transactions “in

  the ordinary course of business.” Id. (quoting Lensa Corp. v. Poinciana Gardens

  Ass’n, 765 So. 2d 296, 298 (Fla. 4th DCA 2000). For example, in Cambridge, the

  court found that the president had apparent authority to allow for the temporary

  disposition of property, in the form of a commercial lease. See Cambridge, 993

  So. 2d at 88. On the other hand, major permanent dispositions of property do not

  occur in the “ordinary course of business,” and are therefore not subject to the

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  same presumption of apparent authority. See Lensa Corp., 765 So. 2d at 298

  (involving sale of “all or substantially all” of corporate assets).

     Mr. Kauffman does not point to a single “known misrepresentation.”

  Cambridge, 993 So. 2d at 88. He cannot. Unlike the president of Cambridge, Mr.

  Levin never stated that he is executing a transaction on behalf of either of the

  Defendants. Instead, Mr. Kauffman relied on accurate representations made by

  Mr. Levin, such as the routing information of High Times Holding Company. Mr.

  Kauffman also refers to Mr. Levin’s “Once received I’ll send it over” statement.

  But because Mr. Kauffman points to no evidence that this statement was shared

  with any other member of the board of directors, this statement cannot be the

  basis for apparent authority. See Owen Indus., 354 So. 2d at 1262 (holding no

  apparent authority when no record evidence of principal’s knowledge of agent’s

  statements). Further, within a day, Mr. Levin clarified that a “board call” and

  “contract” would be required. The Board of Directors of Trans High Holding

  Corporation passed a resolution “to correct” any potential misunderstanding. See

  Ja Dan, Inc., 898 F. Supp. at 900. Mr. Kauffman recognized that 420.com would

  be his “biggest domain … bought in a while,” placing the purported transaction

  outside of the ordinary course of business and eliminating the presumption of

  apparent authority.

     Finally, there is no “silently acting” of Defendants. “Silently acting” means that

  the “principal by its actions creates a reasonable appearance of his agent’s

  authority.” Am. Eagle, 865 F. Supp. at 813. For example, a defendant’s

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  representation that he agrees to terms “as stated by my employees,” imbues

  individuals with apparent authority, regardless of whether they actually are

  employees. Id. This method of establishing authority requires some affirmative

  act on the part of the defendant principal to the plaintiff. Here, there is absolutely

  no communication from Defendants’ boards of directors to Mr. Kauffman.

           C. Duty to Inquire

     Even if Mr. Kauffman can establish actual or apparent authority (he cannot),

  Mr. Kauffman was not entitled to rely upon such purported authority because he

  had a duty to inquire about Mr. Levin’s authority. The duty to inquire “can arise

  where an agent acts ‘facially contrary’ to the interests of his principal.” GolTV,

  Inc. v. Fox Sports Latin Am. Ltd., 277 F. Supp. 3d 1301, 1312 (S.D. Fla. 2017)

  (quoting Palafrugell Holdings, Inc. v. Cassel, 940 So. 2d 492, 494 (Fla. 3d DCA

  2006)). In the WhatsApp exchange, the sale of the domain 420.com is “facially

  contrary” to the interests of Defendants. Mr. Levin disclosed that a competing

  offer would be “netting HT [High Times] 400k.” [Compl, Ex. B, p. 26]. Within

  three minutes of providing Defendants’ wiring information, Mr. Levin stated

  more bluntly: “I have you a steal” and “I have two firms who were going to pay

  1mm And just haven’t pulled the trigger.” [D.E. 112-3, p. 24]. Mr. Levin advised

  Mr. Kauffman to inquire further: “Happy to sign an agreement or anything you

  need.” [Compl, Ex. B, p. 29]. But Mr. Kauffman opted for head-in-sand approach:

  “Not worried about it.” Id. As Mr. Kauffman’s subsequent messages indicate, Mr.

  Kauffman was already aware of the requirement of “board approval.”

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      IV.   Plaintiff has failed to meet his burden of establishing
            standing, compliance with the Uniform Commercial Code,
            and jurisdiction.

      Even if Mr. Kauffman has met the summary judgment standards for

  establishing meeting of the minds, authority, agreement to essential terms, and

  satisfaction of conditions precedent (he has not for reasons stated above), Mr.

  Kauffman has failed to meet his burden of establishing several additional

  requirements to enforce a WhatsApp transcript: standing, compliance with the

  Uniform Commercial Code, and jurisdiction.3

            A. Standing

      Standing is an “indispensable part of the plaintiff’s case.” Church v. City of

  Huntsville, 30 F.3d 1332, 1336 (11th Cir. 1994). The Eleventh Circuit held that the

  plaintiff bears the burden of establishing standing at the summary judgment

  stage: “When standing is challenged in a motion for summary judgment, the

  plaintiff ‘must ‘set forth’ by affidavit or other evidence ‘specific facts’’

  demonstrating standing, which are taken as true for summary judgment

  purposes.” Id. (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)). Mr.

  Kauffman has not introduced a single fact as to how Mr. Kauffman can enforce

  the rights of Trellian Pty Ltd. Mr. Kauffman lacks standing to enforce purported




  3 Defendants’ arguments are more fully set forth in their motion for summary judgment
  [D.E. 112], and is recapped here to demonstrate why Plaintiff is not entitled to summary
  judgment even if he prevails on every one of his arguments raised in his own motion for
  summary judgment [D.E. 111].
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  contract rights of a non-party corporate entity. See Latele TV, C.A. v. Telemundo

  Communs. Grp., LLC, 9 F. 4th 1349, 1358 (11th Cir. 2021).

            B. Uniform Commercial Code

     Regardless of whether signatures are required to show intent to accept an

  offer, section 672,201(1), Florida Statutes, imposes an independent requirement

  to affix signatures in contracts for the sale of goods over $500. A domain

  constitutes a good because it is not a service, in that the sale is based on “the

  product … of concepts,” not on the performance of labor. Sys. Design & Mgmt.

  Info., v. Kan. City Post Office Empls. Credit Union, 788 P.2d 878 (Kan.

  1990)(cited in First Nationwide Bk., 770 F. Supp. 1537, 1543 (M.D. Fla. 1991)).

  Further, internet domains constitute goods because their value is based on their

  “tangible effects on computers.” Margae, Inc. v. Clear Link Techs, LLC, 620 F.

  Supp. 2d 1284, 1288 (D. Utah 2009).

            C. Personal jurisdiction

     Plaintiff erroneously relies on a contract that he is not a party assert

  jurisdiction that no party to this proceeding has any connection with. See, e.g.

  Digi-Tel Holdings v. Proteq Telcoms, 89 F.3d 519, 523 (8th Cir. 1996).

     V.     Specific Performance

     Specific performance is not an available remedy for Mr. Kauffman. Specific

  performance is reserved for situations where the asset’s value is “indefinite,

  speculative, or uncertain.” Glob. Dig. Sols. v. Grupo Rontan Electro, 18-80106,

  2019 U.S. Dist. LEXIS 229680, at *13 (S.D. Fla. Nov. 25, 2019) (quoting Hogan v.

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  Norfleet, 113 So. 2d 437, 439 (Fla. 2d DCA 1959)). There is “no hardline rule”

  about whether a certain type of asset justifies specific performance. Glob. Dig.

  Sols., 2019 U.S. Dist. LEXIS, at *13 (discussing Baruch v. W.B. Haggerty, 188 So.

  797 (Fla. 1939)). For example, breach of a stock agreement may require specific

  performance when “the stock has no market value,” but not when it is “commonly

  bought and sold in the market.” Global Dig. Sols, 2019 U.S. Dist. LEXIS, at *13

  (quoting Baruch v. W.B. Haggerty, 188 So. at 804).

     Similarly, the availability of specific performance in one dispute over a phone

  number does not mean that the remedy is available in all disputes over internet

  domains. In the sole case relied upon by Mr. Kauffman, the plaintiff sued for

  specific performance of transfer of phone numbers because the phone numbers

  represented “to the public the identity, reputation and goodwill” of the Plaintiff,

  and as such, could not assigned a fair market value. Purosystems Inc. v. Maclean,

  11-62336, 2012 U.S. Dist. LEXIS 201804, at *11 (S.D. Fla. June 18, 2012).

     The situation of Mr. Kauffman is entirely different. Mr. Kauffman recognizes

  that there is “high demand” for the domain name 420.com, and a corresponding

  “public value.” D.E. 111-1, at ¶ 29. On the supply side, there are “46,656”

  comparable domain names. Id. at ¶ 27. The WhatsApp chat itself demonstrates

  that a fair market value can be easily determined based on the offers of potential

  purchasers have made and the negotiations at issue here. Even if Mr. Kauffman is

  entitled to relief (he is not), such relief would be limited to the fair market value

  of the website domain at issue.

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        WHEREFORE, it is respectfully requested that Plaintiff’s motion for

  summary judgment be denied.


                                              Respectfully submitted,

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                          CERTIFICATE OF SERVICE

        I certify that on March 7, 2022, the foregoing documents have been

  furnished by e-portal to Concept Law Group, PA, 6400 N. Andrews Ave., Suite

  500, Ft Lauderdale, FL 33309; (754) 300-1500; rkain@complexip.com and

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